

ORDER

PER CURIAM.
AND NOW, this 15th day of March, 2006, it appearing that Ross M. Cellino, Jr., a member of the Bar of this Commonwealth, has been suspended from the practice of law in the State of New York for a period of six months by Order of the Supreme Court of the State of New York, Appellate Division, Fourth Judicial Department, entered June 10, 2005, and the said Ross M. Cellino, Jr., having stated that he has no objection to the imposition of reciprocal discipline in this Commonwealth in accordance with Rule 216, Pa. R.D.E., it is
ORDERED that Ross M. Cellino, Jr., is suspended from the practice of law in this Commonwealth for a period of six months, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
Madame Justice BALDWIN did not participate in this matter.
